              Case 1:18-cv-07697 Document 3 Filed 08/24/18 Page 1 of 8



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 Southern District of New York
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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
--------------------------------------x
                                      :
UNITED STATES OF AMERICA,
                                      :
                  Plaintiff,
                                      :                         VERIFIED COMPLAINT FOR
                -v.-                                            FORFEITURE
                                      :
                                                                18 Civ. 7697 (___)
THE PAINTING KNOWN AS                                    :
ROSES IN A BLACK VASE,
BY THE ARTIST JULIAN                                     :
ALDEN WEIR,                                              :

                        Defendant in Rem.                :

                                                   :
--------------------------------------X
           Plaintiff United States of America, by its attorney Geoffrey S. Berman, United

 States Attorney for the Southern District of New York, for its verified complaint, alleges, upon

 information and belief, as follows:

                                I. JURISDICTION AND VENUE

                1.      This action is brought by the United States of America, pursuant to 18

 U.S.C. § 981(a)(1)(C), seeking the forfeiture of all right, title and interest in the painting known

 as Roses in a Black Vase, by the artist Julian Alden Weir (or J. Alden Weir), currently located at

 the law office of the attorney representing the individual identified below as “Individual-2” (the

 “Defendant in Rem Painting”).
             Case 1:18-cv-07697 Document 3 Filed 08/24/18 Page 2 of 8




               2.     This Court has jurisdiction pursuant to 28 U.S.C. §§ 1345 and 1355.

               3.     Venue is proper pursuant to 28 U.S.C. §§ 1355(b)(1) and 1395 because the

acts or omissions giving rise to the forfeiture occurred in the Southern District of New York and

the Defendant in Rem Painting is located in the Southern District of New York.

               4.     The Defendant in Rem Painting constitutes property traceable to violations

of 18 U.S.C. §§ 2314 and 2315 and thus is subject to forfeiture to the United States pursuant to

18 U.S.C. § 981(a)(1)(C).

                       II. PROBABLE CAUSE FOR FORFEITURE

               5.     As set forth below, there is probable cause to believe that the Defendant in

Rem Painting, the estimated worth of which exceeds $5,000, was stolen and unlawfully

converted in or about June 1999 from a hotel in New York, and was thereafter transported to

Connecticut before returning to New York in or about April 2017, in violation of Title 18, United

States Code, Sections 2314 and 2315.

               6.     In or about June 1999, the Defendant in Rem Painting was stolen from the

Cooper Inn, a historic hotel located in Cooperstown, New York. The Defendant in Rem

Painting, an 1885 watercolor measuring 9.5 inches by 13.5 inches unframed, was painted by J.

Alden Weir, a renowned American impressionist whose works can be found in numerous

museums including the Metropolitan Museum of Art and the Smithsonian American Art

Museum, and depicts a small group of white flowers and cut leaves in a black vase.

               7.     Prior to its theft, the Defendant in Rem Painting had been owned by the

family of the owner of the Cooper Inn (the “Owner’s Family”) for more than a century.

Members of the Owner’s Family had acquired three paintings by Weir, including the Defendant
                                                2
             Case 1:18-cv-07697 Document 3 Filed 08/24/18 Page 3 of 8




in Rem Painting, at a February 7, 1889 auction held by an auction house located in New York

City, New York (the “New York Auction House”). The listing for the New York Auction

House’s auction of the Defendant in Rem Painting, obtained from the Smithsonian Archives of

American Art in Washington D.C., titles the Defendant in Rem Painting Flowers in a Black

Japanese Jar, and describes it as a 9.5 inch by 13.5 inch watercolor by J. Alden Weir. The

other two paintings by Weir purchased by the Owner’s Family were A Belt of Wood and In the

Adirondacks (collectively with the Defendant in Rem Painting, the “Weir Paintings”).

               8.      The Defendant in Rem Painting is visible in a photograph of the sitting

room of the Cooper Inn (the “Sitting Room Photograph,” attached hereto as Exhibit A), provided

by the Owner’s Family.

               9.      Over two separate occasions in June, the Weir Paintings and a fourth

painting, Two Horses, by Horatio Walker (the “Walker Painting”), were stolen from the Cooper

Inn: A Belt of Wood and In the Adirondacks on June 5, 1999 (the “June 5th Theft”) and the

Defendant in Rem Painting and the Walker Painting on June 26, 1999 (the “June 26th Theft”).

               10.     On or about July 24, 2001, an individual (“Individual-1”) sold the

Defendant in Rem Painting to a Connecticut-based art dealer (“Dealer-1”) for approximately

$10,000. The bill of sale from Individual-1 to Dealer-1 memorialized the sale of a “J.A. Weir

still life (Roses) painting watercolor framed.”

               11.     Individual-1 had also been in possession of A Belt of Wood, stolen from

the Cooper Inn during the June 5th Theft, which Individual-1 also sold to Dealer-1, on or about

January 18, 2002.



                                                  3
             Case 1:18-cv-07697 Document 3 Filed 08/24/18 Page 4 of 8




               12.    On or about July 25, 2001, a day after acquiring the Defendant in Rem

Painting, Dealer-1 sold the Defendant in Rem to a New York-based art dealer (“Dealer-2”) for

approximately $25,000. In its internal documentation, as well as its bill of sale to Dealer-2, the

Defendant in Rem Painting is referred to as “Flowers in a Japanese Vase,” and described as a

watercolor and gouache measuring 13.5 inches by 9.5 inches.

               13.    On or about October 24, 2003, as memorialized in a Dealer-2 invoice,

Dealer-2 sold the painting to an individual (“Individual-2”) for approximately $65,000. An

April 16, 2012 email from an attorney representing the estate of the then-deceased Dealer-2 to

the Federal Bureau of Investigation (“FBI”) confirmed the October 24, 2003 sale to Individual-2,

therein describing the Defendant in Rem Painting as Flowers in a Japanese Vase, a 13.5 inch by

9.5 inch J. Alden Weir watercolor signed “JA W ’85” in the lower left hand corner.

               14.    The Defendant in Rem Painting was in Individual-2’s possession at his

address in Connecticut after he purchased it on or about October 24, 2003, until at least on or

about April 28, 2017. It is currently located at the law office of Individual-2’s attorney in New

York.

               15.    Individual-2, by and through his attorney, has provided the FBI with a

photograph of the Defendant in Rem Painting (the “Individual-2 Photograph,” attached hereto as

Exhibit B). Except for the frame, the image of the Defendant in Rem Painting seen in the

Individual-2 Photograph matches the image of the Defendant in Rem Painting appearing in the

Sitting Room Photograph. See Exhibit A.




                                                 4
              Case 1:18-cv-07697 Document 3 Filed 08/24/18 Page 5 of 8




                                   III. CLAIMS FOR FORFEITURE

                                               CLAIM ONE

                        Forfeiture Under 18 U.S.C. § 981(a)(1)(C)
 (Proceeds Traceable to a Violation of the National Stolen Property Act, 18 U.S.C. § 2314)

                16.      Paragraphs 1 through 15 of this Complaint are repeated and re-alleged as

if fully set forth herein.

                17.          18 U.S.C. § 981(a)(1)(C) subjects to forfeiture “[a]ny property, real or

personal, which constitutes or is derived from proceeds traceable to a violation of . . . any offense

constituting ‘specified unlawful activity’ (as defined in section 1956(c)(7) of this title), or a

conspiracy to commit such offense.”

                18.      18 U.S.C. § 1956(c)(7)(A) provides that the term “specified unlawful

activity” includes “any act or activity constituting an offense listed in section 1961(1) of this

title.” Included among the enumerated offenses in 18 U.S.C. § 1961(1) are 18 U.S.C. §§ 2314

and 2315.

                19.      18 U.S.C. § 2314 provides that “[w]hoever transports, transmits, or

transfers in interstate or foreign commerce any goods, wares, merchandise, securities or money,

of the value of $5,000 or more, knowing the same to have been stolen, converted or taken by

fraud” shall be subject to criminal penalties.

                20.      The Defendant in Rem Painting is subject to forfeiture pursuant to 18

U.S.C. § 981(a)(1)(C) because there is probable cause to believe that the Defendant in Rem

Painting constitutes proceeds of an offense that is a specified unlawful activity, in that the




                                                      5
              Case 1:18-cv-07697 Document 3 Filed 08/24/18 Page 6 of 8




Defendant in Rem Painting is property of the value of $5,000 or more that was stolen and was

thereafter transported and transferred in interstate or foreign commerce.

                                           CLAIM TWO

                        Forfeiture Under 18 U.S.C. § 981(a)(1)(C)
 (Proceeds Traceable to a Violation of the National Stolen Property Act, 18 U.S.C. § 2315)

                21.      Paragraphs 1-15 and 17-18 of this complaint are repeated and re-alleged as

if fully set forth herein.

                22.      18 U.S.C. § 2315 provides that:

                                [w]hoever receives, possesses, conceals, stores,
                                barters, sells, or disposes of any goods, wares, or
                                merchandise, securities, or money of the value of
                                $5,000 or more, or pledges or accepts as security for
                                a loan any goods, wares, or merchandise, or
                                securities, of the value of $500 or more, which have
                                crossed a State or United States boundary after being
                                stolen, unlawfully converted, or taken, knowing the
                                same to have been stolen, unlawfully converted, or
                                taken [shall be subject to criminal penalties.]

                23.      The Defendant in Rem Painting is subject to forfeiture pursuant to 18

U.S.C. § 981(a)(1)(C) because there is probable cause to believe that the Defendant in Rem

Painting constitutes proceeds of an offense that is a specified unlawful activity, in that the

Defendant in Rem Painting is property of the value of $5,000 or more that was stolen and was

thereafter received, possessed, concealed, stored, bartered, sold or disposed of in interstate or

foreign commerce.

                WHEREFORE, plaintiff United States of America prays that process issue to

enforce the forfeiture of the Defendant in Rem Painting and that all persons having an interest in

the Defendant in Rem Painting be cited to appear and show cause why the forfeiture should not
                                                  6
             Case 1:18-cv-07697 Document 3 Filed 08/24/18 Page 7 of 8




be decreed, and that this Court decree forfeiture of the Defendant in Rem Painting to the United

States of America for disposition according to law, and that this Court grant plaintiff such further

relief as this Court may deem just and proper, together with the costs and disbursements of this

action.


Dated: New York, New York
       August 23, 2018
                                              GEOFFREY S. BERMAN
                                              United States Attorney for the
                                              Southern District of New York
                                              Attorney for the Plaintiff
                                              United States of America

                                      By:
                                              JENNIFER,LANE GACHIRI
                                              Assfstant United States Attorney
                                              One St. Andrew's Plaza
                                              New York, New York 10007
                                              Telephone: (212) 637-2209




                                                 7
                 Case 1:18-cv-07697 Document 3 Filed 08/24/18 Page 8 of 8




                                          VERIFICATION


 STATE OF NEW YORK
 COUNTY OF NEW YORK
 SOUTHERN DISTRICT OF NEW YORK )



                  CHRISTOPHER McKEOGH, being duly sworn, deposes and says that he is a

 Special Agent with the Federal Bureau of Investigation (the "FBI"), and as such has

 responsibility for the within action; that he has read the foregoing complaint and knows the

 contents thereof, and that the same is true to the best of his knowledge, information, and belief.

                  The sources of deponent's information and the ground of his belief are official

 records and files of the FBI, information obtained directly by the deponent, and information

 obtained by other law enforcement officials, during an investigation of alleged violations of Title

 18 of the United States Code.




                                                       CHRIST° ER      i c
                                                       Special Agent
                                                       Federal Bureau Investigation

 Sworn to before me this
,g_....gclay of August, 2018



NOTARY PUBLIC

           MICHAEL BIRL,EY
     NOTARY PUBLIC, STATE O? NEW YORK
                                   280
         Registration No. 01BI4994
          Qttalified in Suffolk County
       Commission Wires March 30,2022
Case 1:18-cv-07697 Document 3-1 Filed 08/24/18 Page 1 of 1
Case 1:18-cv-07697 Document 3-2 Filed 08/24/18 Page 1 of 1
